Case 1:05-cv-02342-WYD-MJW Document 144 Filed 01/23/08 USDC Colorado Page 1 of 3




                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO


   Civil Action No. 05-cv-02342-WYD-MJW

   NIDAL A. AYYAD

                 Plaintiff,

   v.

   MICHAEL MUKASEY, et al.,

                 Defendants.


   Civil Action No. 07-cv-01561-WYD-MJW

   MOHAMMAD AMIN SALAMEH,

                 Plaintiff,

   v.

   MICHAEL MUKASEY, et al.,

                 Defendants.


               OBJECTION TO MAGISTRATE JUDGE’S RECOMMENDATION


          Plaintiff Mohammad Amin Salameh respectfully objects to the Magistrate Judge’s

   Recommendation Regarding Defendants’ Opposed Motion to Consolidate (Ayyad docket no.

   133). The Magistrate Judge made his recommendation based on the Defendants’ Motion (Ayyad

   docket no. 120) and Plaintiff Ayyad’s Response (Ayyad docket no. 126). Recommendation at 1.

   That recommendation was made without the benefit of Plaintiff Salameh’s Response because
Case 1:05-cv-02342-WYD-MJW Document 144 Filed 01/23/08 USDC Colorado Page 2 of 3




   Plaintiff Salameh initially filed his Response to in Salameh (Salameh docket no. 18) pursuant to

   instructions of the Court’s Civil Docket Clerk*.

           Consolidation is authorized under Federal Rule of Civil Procdure 42(a) when there are

   common questions of fact and law, but courts have held that the gains to efficiency and judicial

   economy should be balanced against the potential for confusion and prejudice. See, e.g., Dupont

   v. Southern Pacific Co., 366 F.2d 193, 196 (5th Cir. 1966) (The court “should make sure that the

   rights of the parties are not prejudiced by the order of consolidation under the facts and

   circumstances of the particular case.”). Here, there is a very real potential for confusion and

   prejudice to Plaintiff—and that potential has been increased by the consolidation of Civil Action

   05-cv-02653 Mahmud Abouhalima v. Gonzales et al. with Ayyad. Therefore, Plaintiff

   respectfully asks the Court to consider Plaintiff’s Response (Ayyad docket no. 141) and/or to

   hear oral argument on the potential costs and benefits of consolidation before ruling on the

   Magistrate Judge’s recommendation that Defendants’ motion for consolidation be granted.

   DATED this 23rd day of January 2008.

                                                     Respectfully Submitted,

                                                     s/ Joyce Ellen Rosendahl
                                                     Joyce Ellen Rosendahl
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                                                     Attorney for Plaintiff Mohammad A. Salameh


   *
    Initially, Plaintiff could not file his Response in Ayyad because Plaintiff was not a party to Ayyad in the
   Electronic Case Filing (ECF) system. Plaintiff contacted the ECF Help Desk for assistance and was
   referred to the Court’s Civil Docket Clerk. The Docket Clerk instructed Plaintiff to file his Response in
   Salameh, with a cross-reference to the appropriate motion in Ayyad. Plaintiff was subsequently notified
   that his Response was filed in the wrong case (Salameh docket no. 19). Plaintiff requested further
   instructions and assistance from the Docket Clerk. The Docket Clerk then entered Plaintiff as an
   “Interested Party” in Ayyad so that Plaintiff could refile his Response in Ayyad (docket no. 141).
Case 1:05-cv-02342-WYD-MJW Document 144 Filed 01/23/08 USDC Colorado Page 3 of 3




                            CERTIFICATE OF SERVICE (CM/ECF)


   I HEREBY CERTIFY that on this 23rd day of January, 2008, I electronically filed the foregoing
   OBJECTION TO MAGISTRATE JUDGE’S RECOMMENDATION with the Clerk of the
   United States District Court for the District of Colorado using the CM/ECF system which will
   send notification of such filing to the following:
          william.pharo@usdoj.gov

          dmanville@law.du.edu

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                                                        s/ Joyce Ellen Rosendahl
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